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®&AQ245D (Rev. 12407) Judgment in a Criminal Case for Revocations

 

 

 

Sheet 1
UNITED STATES DISTRICT COURT
Southern District of Ohio
UNITED STATES OF AMERICA Judgment in a Criminal Case
Vv. (For Revecation of Probation or Supervised Release)
LESLIE WOOD Case No. 1:02-cr-00005
USM No, 65736-061
James Maus, Esq.
THE DEFENDANT: Defendant's Attomey
& admitted guilt to violation of condition(s} 1 and 2 of the term of supervision.
O was found in violation of condition(s) after denial of guilt.

The defendant is adjudicated guilty of these violations:

Violation Number Nature of Violation Violation Ended
1 Use of a Narcotic or Controlled Substance (positive urine samples for 7/8/2011
Marijuana and/Cocaine on 4/7/11, 4/25/11 and 7/3/11)
2 Possession of a Controlled Substance (Cocaine} 7/22/2011
The defendant is sentenced as provided in pages 2 through 4 of this judgment, The sentence is imposed pursuant to

the Sentencing Reform Act of 1984.

O The defendant has not viclated condition(s) and is discharged as to such violation(s) condition.

It is ordered that the defendant must notify the United States attorney for this district within 30 days of any —
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in
economic circumstances.

Last Four Digits of Defendant’s Soc. Sec. No.: _ 5671 September L 2011
Defendant’s Year of Birth: 1971

City and State of Defendant’s Residence:
Portsmouth, Ohio

 

 
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AG245D — (Rev. 12/07) Judgment in a Criminal Case for Revocations
Sheet 2— Imprisonment

Judgment —- Page 2 of _ 4

 

DEFENDANT: LESLIE WOOD
CASE NUMBER: 1:02-cr-00005

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total

total term of: TWELVE (12) MONTHS.

OC The court makes the following recommendations to the Bureau of Prisons:

& The defendant is remanded to the custody of the United States Marshal.

O The defendant shall surrender to the United States Marshal for this district:
Oa Oam O pm. on
as notified by the United States Marshal.

 

O The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
[1 before 2 p.m. on
Olas notified by the United States Marshal.

 

O as notified by the Probation or Pretrial Services Office.

 

 

 

 

 

 

RETURN
I] have executed this judgment as follows:
Defendant delivered on to
at with a certified copy of this judgment.
UNITED STATES MARSHAL
By

 

DEPUTY UNITED STATES MARSHAL
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AO 245D (Rev, 12/07) Judgment in a Criminal Case for Revocations
Sheet 3 — Supervised Release

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DEFENDANT: LESLIE WOOD
CASE NUMBER: _ 1:02-cr-00005
SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for aterm of: TWO (2) YEARS.
Defendant shall reside in a Residential Re-Entry Center (RCC) in the work-release component, for a term of nine (9) months.

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlied substance, The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug
tests thereafter as determined by the court.

01 The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
future substance abuse. (Check, if applicable.}

& The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if

O The defendant shali cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

O The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
or is a student, as directed by the probation officer. (Check, if applicable.)

[1 The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

; If this judgment imposes a fine or restitution, it is be a condition of supervised release that the defendant pay im accordance
with the Schedule of Payments sheet of this judgment.

_, The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.

STANDARD CONDITIONS OF SUPERVISION

1) the defendant shall not leave the judicial district without the permission of the court or probation officer;

2) the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first
five days of each month;

3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
officer;

4) the defendant shall support his or her dependents and meet other family responsibilities;

5} the defendant shall work regularly at a jawful occupation, unless excused by the probation officer for schooling, training,
or other acceptable reasons;

6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

7) the defendant shall refrain from excessive use of alechol and shall not purchase, possess, use, distribute, or administer any
controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person

convicted of a felony, unless granted permission to do so by the probation officer;

10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
confiscation of any contraband observed in plain view of the probation officer;

11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
enforcement officer:

12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
without the permission of the court; an

13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
defendant’s criminal record or personal history or characteristics and shall permit the probation officer to make such
notifications and to confirm the defendant’s compliance with such notification requirement.
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Sheet 3C — Supervised Release

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DEFENDANT: LESLIE WOOD
CASE NUMBER: _ 1:02-cr-00005

SPECIAL CONDITIONS OF SUPERVISION

14) Defendant shall pay the remaining balance of his originally imposed fine while on supervised release.

15) Defendant shall participate in a program approved by the United States Probation Office for substance abuse, which program
may include testing to determine whether the offender has reverted to the use of drugs or alcohol,
